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                                                                     FILED

                                                                   MAR 21 2019
                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF VIRGINIA           ULERK, U.S. DISTRICT COURT
                              Norfolk Division                      NORFOLK. VA



 NEW VENTURE HOLDINGS, L.L.C
 D/B/A THE DUMP,

                  Plaintiff,
                                                     Civil No. 2:18cv370


 DEVITO VERDI, INC.,

                  Defendant




                             OPINION AND ORDER


       This matter is before the Court on a Motion to Dismiss filed

 by Defendant DeVito Verdi, Inc. ("Defendant" or "DeVito Verdi"),
 pursuant    to   Federal   Rule   of   Civil    Procedure    12(b)(2),        or

 alternatively under Federal Rules of Civil Procedure 8, 9(b), and

 12(b)(6).    ECF No. 4.    For the reasons stated below. Defendant's

 Motion to Dismiss for lack of personal jurisdiction is GRANTED.

 As a result, the Court does not reach a decision on the alternative

 bases for dismissal.       The Court PROVIDES Plaintiff New Venture

  Holdings, LLC, doing business as The Dump ("Plaintiff" or "New

  Venture"), with leave to amend the Complaint to cure all defects

  within fifteen (15) days after the entry of this Order.
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                    I. FACTUAL AND PROCEDURAL HISTORY^

        Plaintiff New Venture is a Virginia corporation and operates

 a chain of discount furniture stores under the trade name ""The

 Dump."      Compl., ECF No. 1        1, 5.     New Venture has ''The Dump"

 stores located in Atlanta, Georgia; Chicago, Illinois; Dallas,

 Texas;    Houston,       Texas;   Philadelphia,   Pennsylvania;      Phoenix,

 Arizona; Turnersville, New         Jersey; Norfolk, Virginia; Hampton,

 Virginia; and Richmond, Virginia.            Verdi Decl., ECF No. 6 5 24.

 New    Venture's     business     requires    effective    advertising     and

 marketing; New Venture relies on television, radio, print media,

 its online website, and social media for its advertising.               Compl.

       5, 7.   Prior to March 2018, New Venture relied on in-house

 resources and regional advertising agencies to carry out its

 advertising and marketing.           Id. H 6.      Because of its growing

 national platform and a desire to improve marketing efforts, in

 late 2017 and early 2018, New Venture began looking for a national

 advertising agency to take over its advertising and marketing.

 Id. SI 8.




 1 The Complaint attaches a copy of the contract the parties entered into. DeVito
 Verdi's motion to dismiss attaches a declaration by Ellis Verdi, president and
 co-founder of DeVito Verdi ("Verdi Decl."). New Venture's response attaches a
 declaration by Brian Hostetler, vice president of marlceting for New Venture
 ("Hostetler Decl."), emails and evidence of phone calls between the parties,
 and court documents from other cases filed against Defendant.   As further noted
 below, the Court is permitted to rely on both the allegations in the Complaint
  and these documents to evaluate the 12(b)(2) motion.   Thus, the facts recited
  here are drawn from the Complaint, the motion papers, legal memoranda, and
  supporting documents.
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       Defendant   DeVito   Verdi    is    a   New   York-based    advertising

 agency.     Id. 5 9.    In 2018, New Venture and DeVito Verdi began

 discussions for DeVito Verdi to become New Venture's principal

 advertising agency.     Id. 5 12.        For several years prior to these

 discussions, DeVito Verdi had solicited New Venture's business.

 For instance, in 2014, Paul McCormick, DeVito Verdi's executive

 vice president of account management, sent an email to Brian

 Hostetler, vice president of marketing for New Venture, who was

 located in Virginia, about an advertising campaign DeVito Verdi

 had done for Tribe Hummus.       Hostetler Decl. 5 9, ECF No. 10, Ex.

 B.    On January 8, 2016, McCormick sent another email to Hostetler

 about a television commercial by DeVito Verdi that won an award.

 Id.    DeVito Verdi also mailed a letter dated June 29, 2016 to New

 Venture's    Virginia    Beach     office,     which   attaches    images   of
 advertisements it created for other companies including another

  retail furniture store. Id. 5 12(a), Ex. C. DeVito Verdi followed

  up on this letter with several telephone calls.             In total. New
  Venture submitted records of 7 phone calls from 2017 and 2018.

  Id., Ex. D.      DeVito Verdi also promotes its advertising and
  marketing services on its website, describing its capabilities and
  creative and production processes.           Compl. 55 11-13.

        During an early 2018 telephone call between New Venture and
  DeVito Verdi, the parties reached an agreement in principle, but
  E.J. Strelitz, the chief executive officer of New Venture, would
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 not agree to hire DeVito Verdi until he personally met with DeVito
 Verdi.      Verdi Decl. II 13.     Therefore, the parties held an in-

 person meeting at New Venture's store in Chicago, Illinois.                Id.
 SI 14. At that meeting, the parties reached an agreement on DeVito

 Verdi's engagement as New Venture's advertising agency.              Id.

       Thereafter, DeVito Verdi drafted a letter agreement for the

 engagement and sent it to New Venture in Virginia.                Id. SI 15.

 However, this was not the final contract.               Following edits and

 further     negotiation.    New   Venture   put   the    agreement    on   its

 letterhead, and sent it back to DeVito Verdi in New York City,

 where DeVito Verdi executed the agreement on March 23, 2018 (the

 "Agreement"). I^ SI 16; Hostetler Decl. SI 15; Compl. SI 10.

          The agreement provides that DeVito Verdi would provide work

 in four separate categories, with a flat monthly payment from New

  Venture for each category of work: (a) Strategy and Creative; (b)

  In-Store Communications Creative; (c) Public Relations and Social

  Media; and (d) Digital, Website Development, Optimization, SEC,

  SEM.2    Agreement, ECF No. 1, Ex. 1.

          The agreement further provides that New Venture must approve

  every advertisement and will own all finished product. Id. SI 1(a).
  It also states that New Venture must reimburse DeVito Verdi for



  - SEM refers to search engine marketing — the paid advertisements that appear
  at the top of results in search engines like Google. SEO refers to search
  engine optimization, which uses the data on a website to place the website
  higher up in search engine results.
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 out-of-pocket expenses,         but only expenses     authorized   by   New

 Venture.      Id. 1 2.   Moreover, it provides that New Venture will be

 responsible for booking all business travel, i.e. all travel was

 subject to Plaintiff's approval.

        Pursuant to the agreement, DeVito Verdi commenced work for

 The Dump on or after March 26, 2018.           Following the execution of

 the agreement, representatives of New Venture went to DeVito
 Verdi's offices in New York to discuss DeVito Verdi's work on two

 occasions.      Verdi Decl. ^ 21.      Employees of DeVito Verdi visited

 New Venture's store in Philadelphia, Pennsylvania, and traveled to

 North Carolina to view how and where New Venture purchases its

 inventory.      Id. SI 22.    At no point did any DeVito Verdi employee

  visit Virginia.     Id. SI 28.    The parties exchanged several emails
  and   telephone    calls     during   their   contractual   relationship.
  Hostetler Decl. SI 8.       New Venture submits copies of these emails.

  Id., Ex. 1. DeVito Verdi also provided New Venture with ideas for
  15 and 30-second television commercials, Verdi Decl. SI 31, and

  samples of in-store advertisements for The Dump store in Chicago,
  id. SI 30.


        On June 19, 2018, New Venture filed a complaint against DeVito

  Verdi in the Circuit Court for the City of Virginia Beach. Compl.,

  ECF No. 1.     Count I of the Complaint alleges breach of contract or

  in the alternative, unjust enrichment, id. SISI 26-43; Count II

  alleges fraudulent inducement, id. SISI 44-60; Count III alleges a
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 breach of fiduciary duty, id.             61-65; and Count IV seeks a

 declaratory judgment that Defendant is in breach of its obligations

 and Plaintiff has no continuing obligations under the agreement,

 id.     66-68.    On July 11, 2018, Defendant removed the action to

 this Court pursuant to 28 U.S.C. § 1441 et seq. Notice of Removal,

 ECF No. 1.       On the same day. Defendant also filed a motion to

 dismiss in this Court.       ECF No. 4.    The motion and accompanying

 memorandum argue that the Court lacks personal jurisdiction over

 Defendant, and alternatively, that the Complaint fails to state

 claims upon which relief can be granted, as required by Rule 8;

 and as to Count II, argues that the Complaint fails to plead fraud

 with particularity as required by Rule 9{b). ECF No. 5. On August

 3, 2018, Plaintiff filed a response.         ECF No. 10.     On August 9,

 2018, Defendant filed a reply. ECF No. 11. The Court has reviewed

 the parties' submissions and concludes that a hearing is not

  necessary.   Local Civil Rule 7(J); Fed. R. Civ. P. 78.

                          II. STANDARD OF REVIEW


       A party may move to dismiss an action for lack of personal
  jurisdiction. Fed. R. Civ. P. 12(b)(2). ''When a court's personal
  jurisdiction is properly challenged by a Rule 12(b)(2) motion, the
  jurisdictional question thus raised is one for the judge, with the
  burden on the plaintiff ultimately to prove the existence of a

  ground for jurisdiction by a preponderance of the evidence." Combs
  V. Bakker, 886 F.2d 673, 676 (4th Cir. 1989); New Wellington Fin.
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 Corp. V. Flagship Resort Dev. Corp., 416 F.3d 290, 294 (4th Cir.

 2005) (a plaintiff ''bears the burden of proving to the district

 court judge the existence of [personal] jurisdiction over the

 defendant by a preponderance of the evidence.").

       A court may resolve a 12(b)(2) motion in one of two ways.           A

 district court may hold an evidentiary hearing, or may rule on the

 motion   papers,    supporting legal memoranda,        and    the relevant

 allegations in the complaint.        Combs, 886 F.2d at 676; PBM Prods.

 V. Mead Johnson Nutrition Co., No. 3:09cv269, 2009 WL 3175665, at

 *2, 2009 U.S. Dist. LEXIS 93312, at *4 (E.D. Va. Sept. 29, 2009)

 ("[A] district court may look to both plaintiff and defendant's

 proffered proof.").

       A plaintiff must make a prima facie showing of a sufficient

 jurisdictional      basis to survive     a   motion    to    dismiss.   New

  Wellington Fin. Corp., 416 F.3d at 294.          To evaluate whether a

  plaintiff has made a prima facie showing of jurisdiction, the court

 "'must construe all relevant pleading allegations in the light

  most favorable to the plaintiff, assume credibility, and draw the

  most favorable inferences for the existence of jurisdiction.'"

  Id. (quoting Combs, 886 F.2d at 676); MJL Enterprises, LLC v.

  Laurel Gardens, LLC, No. 2:15cvl00, 2015 WL 6443088, at *2 (E.D.

  Va. Oct. 23, 2015).         In cases where "the defendant provides

  evidence   which   denies   facts   essential   for   jurisdiction,    'the

  plaintiff must, under threat of dismissal, present sufficient
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 evidence to create a factual dispute on each jurisdictional element

 which has been denied by the defendant and on which the defendant

 has presented evidence.'"       Colt Def., L.L.C. v. Heckler & Koch

 Def., Inc., No. 2:04cv258, 2004 U.S. Dist. LEXIS 28690, at *29-30

 (E.D. Va. Oct. 22, 2004) (quoting Indus. Carbon Corp. v. Equity

 Auto & Equip. Leasing Corp., 737 F.Supp. 925, 926 (W.D.Va. 1990)).

       "In any motion pursuant to Rule           12(b)(2), the     ultimate

 question is whether the plaintiff has proven that the Court has

 personal jurisdiction over the defendant."         People Exp. Airlines,

 Inc. V. 200 Kelsey Assocs., LLC, 922 F. Supp. 2d 536, 541 (E.D.

 Va. 2013). ""'Personal jurisdiction' is the phrase used to express

 a court's power to bring a person into its adjudicative process."

 Noble Sec., Inc. v. MIZ Enq'q, Ltd., 611 F. Supp. 2d 513, 525 (E.D.

 Va. 2009) (citing Black's Law Dictionary 857 (7th ed. 1999)).

 "Federal district courts may exercise such personal jurisdiction

  ^only to the degree authorized by Congress under its constitutional

  power to ordain and establish the lower federal courts.'"              Id.
  (quoting ESAB Grp., Inc. v. Centricut, Inc., 126 F.3d 617, 622

  (4th Cir. 1997)).     There are two types of personal jurisdiction:

  general and specific.        CFA Inst. v. Inst. of Chartered Fin.
  Analysts of India, 551 F.3d 285, 292 n. 15 (4th Cir. 2009).

 "General personal jurisdiction . . . requires ^continuous and

  systematic' contact with the forum state, such that a defendant

  may be sued in that state for any reason, regardless of where the
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 relevant conduct occurred."      Id.    Specific jurisdiction ''requires

 only that the relevant conduct have such a connection with the

 forum state that it is fair for the defendant to defend itself in

 that state."      Id. (citing Helicopteros Nacionales de Colombia,

 S.A. V. Hall, 466 U.S. 408, 414-15 (1984)).

       As further discussed below, because Plaintiff does not assert

 that general personal jurisdiction exists, the Court focuses on

 specific personal jurisdiction.        "[F]or a district court to assert

 [specific] personal jurisdiction over a nonresident defendant, two

 conditions must be satisfied: (1) the exercise of jurisdiction

 must be authorized under the [forum] state's long arm statute; and

 (2) the exercise of jurisdiction must comport with the due process

 requirements of the Fourteenth Amendment."        Carefirst of Md., Inc.

 V. Carefirst Pregnancy Ctrs., Inc., 334 F.3d 390, 397 (4th Cir.

 2003).

       Virginia's long-arm statute        provides that "[a] court may

 exercise personal jurisdiction over a person, who acts directly or

 by an agent, as to a cause of action arising from" a number of

 enumerated activities, including "[t]ransacting any business in

 this Commonwealth" and "[c]ontracting to supply services or things

 in this Commonwealth[.]"      Va. Code Ann. § 8.01-328.1(A)(1) & (2).

 The Fourth Circuit has noted that "a single act by a nonresident

  which amounts to 'transacting business' in Virginia and gives rise

 to a cause of action may be sufficient to confer jurisdiction upon
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  [Virginia] courts[.]"       English & Smith v. Metzger, 901 F.2d 36,

  38-40 {4th Cir. 1990) (quoting Danville Plywood Corp. v. Plain &

  Fancy Kitchens, Inc., 218 Va. 533, 534-35 (1977)).               However,

  ^'[wjhen jurisdiction over a person is based solely upon [Virginia's

  long-arm statute], only a cause of action arising from acts

  enumerated [therein] may be asserted against him."            Va. Code §

  8.01-328.1(C).

        Virginia's long-arm statute has been determined ^^to extend

  personal jurisdiction to the extent permissible under the [United

  States Constitution's] due process clause, [so that] the statutory

  inquiry merges with the constitutional inquiry."               Consulting

  Eng'rs Corp. v. Geometric, Ltd., 561 F.3d 273, 277 (4th Cir. 2009).

  The due process requirement is satisfied if the defendant has

  ^^sufficient ^minimum contacts' with the forum state such that ^the

  maintenance of the suit does not offend traditional notions of

  fair play and substantial justice.'"          Id. (quoting Int'l Shoe Co.

  V. Wash., 326 U.S. 310, 316 (1945)).          The Fourth Circuit employs

  a three-prong test to determine whether the exercise of specific
  jurisdiction comports with the requirements of due process: "Ml)

  the extent to which the defendant purposefully availed itself of

  the privilege of conducting activities in the forum state; (2)

  whether the plaintiff's claims [arose] out of those activities;

  and   (3)   whether   the    exercise    of   personal   jurisdiction   is

  constitutionally reasonable.'" Universal Leather, LLC v. Koro AR,

                                      10
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  S.A., 773 F.Sd 553, 559 (4th Cir. 2014) (quoting Tire Eng'g &

  Distrib., LLC v. Shandong Linqlong Rubber Co., 682 F.3d 292, 302

  (4th Cir. 2012)).       As to the third element, the exercise of

  personal    jurisdiction   is    constitutionally       reasonable    if   the

  defendant's activities or contacts with the forum are such that he

  would "reasonably anticipate being haled into court" in the forum

  state.     World-Wide Volkswagen Corp. v. Woodson, 444 U.S. 286, 297

  (1980).

        If the     Court lacks    personal jurisdiction       over     Defendant

  DeVito Verdi, dismissal of all claims is appropriate.              Tire Eng'g

  & Distrib., LLC v. Shandong Linglonq Rubber Co., Ltd., 682 F.Sd

  292, 302 (4th Cir. 2012) (citing Geometric, 561 F.Sd at 273).

  Therefore, the Court begins by considering DeVito Verdi's motion

  to dismiss pursuant to Rule 12(b)(2).          Because the Court finds it

  lacks personal jurisdiction over DeVito Verdi, it does not reach

  DeVito Verdi's alternative ground for dismissal.

                                 III. DISCUSSION


        Although     Plaintiff     does    not   assert    general      personal

  jurisdiction, the Court briefly addresses why it does not apply.

  As discussed above, to establish general personal jurisdiction,

  the plaintiff must show that the defendant "maintains ^continuous

  and systematic' contacts with the forum state."             CFA Inst., 551

  F.3d at 292 n. 15.     For a corporation, "the paradigm forum for the

  exercise of general jurisdiction is . . . one in which the

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  corporation is fairly regarded as at home[,]" the place where a

  corporation is incorporated or has its principal place of business.

  Goodyear Dunlop Tires Operations, S.A. v. Brown^ 564 U.S. 915, 924

  (2011).    A corporation may be ""^at home" in a state even if it is

  not incorporated there or does not have its principal place of

  business   there.          However,   courts    have   found    that   a   foreign

  corporation must transact business and own property or maintain

  permanent businesses in the state for such activities to constitute

  continuous and systematic contacts with such state.                    See, e.g.,

  Reynolds Holdings, Inc. v. Data Supplies, Inc., 301 F. Supp. 2d

  545, 550 (E.D. Va. 2004) (''[I]t is clear from the relative scarcity

  of cases permitting the assertion of general personal jurisdiction

  over a nonresident corporation that the standard for imposing

  general jurisdiction is high."); E.E. by & through Epsey v. Eagle's

  Nest Found., 200 F. Supp. 3d 626, 631-32 (D.S.C. 2016); see

  generally Nichols v. G.D. Searle & Co., 991 F.2d 1195, 1199 (4th

  Cir. 1993) (general personal jurisdiction requires ''continuous

  corporate operation within a state . . . so substantial and of

  such a nature as to justify suit against it on causes of action

  arising from dealings entirely distinct from those activities").
        Therefore,      as    the    parties     agree   that    general     personal

  jurisdiction is not at issue, the Court turns to address specific
  personal jurisdiction.            The parties dispute the first and third
  factors    of   the   Fourth      Circuit's     test   for    specific     personal

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  jurisdiction: whether Defendant purposefully availed itself of the

  privilege of conducting activities in Virginia and whether it is

  constitutionally reasonable to exercise jurisdiction.

                           A. Purposeful Availment

                    1. Jurisdiction Based on the Agreement

         New    Venture first    argues that   DeVito    Verdi purposefully

  availed itself of Virginia law as a single act of entering into a

  contract with a Virginia company to supply goods or services is

  sufficient to establish jurisdiction.         However, ^^a contract alone

  does    not    automatically    establish    minimum    contacts   in   the

  plaintiff's home forum."         Boschetto v. Hansing, 539 F.3d 1011,
  1017 {9th Cir. 2008) (citing Burger King Corp. v. Rudzewicz, 471

  U.S. 462, 478 (1985)).         Rather, there must be ^'actions by the

  defendant himself that create a 'substantial connection' with the

  forum State." Burger King, 471 U.S. at 475 (guoting McGee v. Int'l

  Life Ins. Co., 355 U.S. 220, 223 (1957)).

         Therefore, the contract between New Venture and DeVito Verdi

  does not alone create a sufficient connection between Defendant

  and    Virginia    to   justify the    exercise   of   specific    personal
  jurisdiction.       Here, the parties reached an oral agreement in
  Illinois.      Subsequently, DeVito Verdi sent a draft contract from

  New York to New Venture in Virginia.         New Venture made changes and

  sent the contract back from Virginia to DeVito Verdi in New York.



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  This constituted a new offer, and the contract was executed in New

  York when DeVito Verdi signed it.

        A contract which is accepted and becomes effective in another

  forum generally will not satisfy the minimum contacts necessary

  for the exercise of specific personal jurisdiction.              Luke v. Dalow

  Industries, Inc., 566 F.Supp. 1470, 1472 (E.D. Va. 1983).               This is

  because a federal court sitting in diversity must apply the law of

  the   state   in   which   the    court   is   located,   including   the   forum

  state's choice of law rules, Colgan Air, Inc. v. Raytheon Aircraft

  Co., 507 F.3d 270, 275 (4th Cir. 2007), and Virginia's choice-of-

  law rules provide that            [g]enerally, the nature, validity, and

  interpretation of . . . contracts [ ] are governed by the law of

  the place where made."           Lexie v. State Farm Mut. Auto. Ins. Co.,

  251 Va. 390, 395 (1996).              Applying    Virginia's choice of law

  provisions, either Illinois or New York law (depending on whether

  the oral agreement or the final written contract governed) would

  govern questions about the nature, validity, and interpretation of

  the contract, rather than Virginia law.                   Thus, the Defendant

  availed itself of either Illinois or New York law, but Defendant

  did not avail itself of Virginia law.

        Further, the fact that New Venture sent the contract from

  Virginia to DeVito Verdi in New York is a critical distinction

  between this case and those cited by Plaintiff.                 For instance,

  although Plaintiff argues that 'Me]very fact supporting personal

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  jurisdiction in Cancun is present here," Plaintiff fails to note

  that the defendant in Cancun Adventures "subsequently negotiated

  and undertook a contractual obligation with a Virginia resident

  [and] mailed purchase orders to Cancun Adventure Tours in Virginia

  and accepted payment from Virginia." Cancun Adventure Tours, Inc.

  V. Underwater Designer Co., 862 F.2d 1044, 1046 (4th Cir. 1988).

  The defendant in Cancun Adventures sent a contract to the plaintiff

  in Virginia, where the contract was executed and Virginia law

  governed.    See Eagle Aviation, Inc. v. Galin, 761 F. Supp. 405,

  407 (D.S.C. 1989) (distinguishing Cancun Adventures).           The Fourth

  Circuit "has given great weight to the question of who initiated

  the contact between the parties."         Worldwide Ins. Network, Inc. v.

  Trustway Ins. Agencies, LLC, No. I:04cv00906, 2006 WL 288422, at

  *3 (M.D.N.C. Feb. 6, 2006) (citing Diamond Healthcare of Ohio,

  Inc. V. Humility of Mary Health Partners, 229 F.Sd 448, 451 (4th

  Cir. 2000) (finding no personal jurisdiction when the contractual

  relationship was initiated by the plaintiffs)); see also Burger

  King, 471 U.S. at 480-81 (finding that franchisee was subject to

  jurisdiction    in   Florida   as   he    reached   out to   Burger   King's

  headquarters there to set up a 20 year franchising agreement).

        Finally, the Supreme Court has cast doubt on               whether a

  contract alone can ever be a sufficient basis for jurisdiction.

  Because a contract is "ordinarily but an intermediate step serving

  to tie up prior business negotiations with future consequences

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  which themselves are the real object of the business transaction,"

  the    Supreme        Court   requires       that       ^'prior    negotiations       and

  contemplated future consequences, along with the terms of the

  contract and the parties' actual course of dealing [ ] must be

  evaluated      in     determining     whether       the    defendant     purposefully

  established minimum contacts within the forum."                      Burger King, 471

  U.S. at 479.


        The cases cited by Plaintiff only underscore this point. None

  of the cases hold that a contract alone is sufficient to establish

  personal jurisdiction; in all of the cases there is additional

  contact between the party and the forum state.                          See Waterside

  Capital Corp. v. Hales, Bradford & Allen, LLP, No. 2:05cv727, 2007

  WL 657286, at *6 (E.D. Va. Feb. 27, 2007) (after contract was

  signed. Defendant accounting firm contacted its client in Virginia

  and the client's former accounting firm in Virginia to produce

  audits over three years); African Dev. Co. v. Keene Eng'g, Inc.,

  963    F.     Supp.    522,    526    (E.D.       Va.    1997)     (finding   personal

  jurisdiction where California seller of mine dredges delivered the

  dredges to Virginia, payments were sent from Virginia bank, there

  was business relationship between parties lasting over one year,

  and   considerable        telephonic communication                regarding   order    in

  question of audits); Joe Rainero Tile Co., Incorporated v. Young

  & McQueen Grading Co., Inc., No. I:17cv00053, 2018 WL 1474085, at

  *2    (W.D.    Va.    Mar.    26,    2018)    (finding      contractor    subject      to

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  jurisdiction in Virginia after it hired a subcontractor based in

  Virginia as evidenced by emails and calls); Prod. Grp. Int'l, Inc.

  V. Goldman, 337 F. Supp. 2d 788, 794 (E.D. Va. 2004) (Defendant

  employee was subject to jurisdiction in Virginia where his employer

  was based, having contacted his employer's main office and traveled

  to Virginia for business); Reynolds Metals Co. v. FMALI, Inc., 862

  F. Supp. 1496, 1498 (E.D. Va. 1994) (defendant was subject to

  jurisdiction in Virginia as contract was signed in Virginia,

  plaintiff was based in Virginia and shipped tea packing from there

  as defendant knew, and contract expressly invoked Virginia law);

  E. Sci. Mktq., Inc. v. Tekna-Seal, Inc., 696 F. Supp. 173, 176

  (E.D. Va. 1988) (Minnesota corporation which, over a period of

  years, sold $120,000 worth of equipment to Virginia company and
  solicited business from the company, and sent a representative to

  visit the company in Virginia, was subject to jurisdiction in
  Virginia).

        Because the contract does not invoke Virginia law and was not

  executed in the state, it does not alone constitute a sufficient

  basis on which to exercise jurisdiction.

         2. Jurisdiction Based on Pre-agreement Communications

        The Court now turns to whether Defendant DeVito Verdi had

  sufficient    additional    contact    with   Virginia   to   justify   the

  exercise of specific personal jurisdiction.          New Venture argues

  that the various communications from DeVito Verdi in New York with

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  New Venture in Virginia prior to the contract, soliciting New

  Venture's      business,   is    sufficient      to   establish   jurisdiction.

  Courts    have    generally      found    that    communications      alone   are

  insufficient      to    establish        jurisdiction.        E.g.,     Superfos

  Investments Ltd. v. FirstMiss Fertilizer, Inc., 774 F. Supp. 393,

  397-98    (E.D.   Va.   1991)     (rejecting      plaintiff's     argument    that

  negotiation of the contract by correspondence, telephone calls and

  facsimile transmissions to Virginia was sufficient to establish

  personal jurisdiction) (collecting cases).               "[I]n the absence of
  a contract that is substantially connected to this state," visits

  to the state to negotiate a contract and telephone calls and faxes

  to the state during negotiations do not create specific personal

  jurisdiction. CEM Corp. v. Personal Chemistry AB, 192 F. Supp. 2d
  438, 442 (W.D.N.C.2002), aff'd, 55 F. App'x. 621 (4th Cir. 2003);

  see also Consulting Engineers Corp. v. Geometric Ltd., 561 F.3d

  273,     280   (4th    Cir.     2009)    (four   emails,    several    telephone

  conversations, and the exchange of several contract drafts, and

  choice of law provision did not make out a prima facie showing of

  a sufficient basis for specific personal jurisdiction as ''the mere

  fact that emails, telephone calls, and faxes were employed does

  not, of itself, alter the minimum contacts analysis.").

         Because the various communications via phone and email -

  soliciting New Venture's business by Defendant and negotiating the
  terms of the contract (which, as discussed, did not invoke Virginia

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  law) — do not constitute sufficient minimum contacts, the Court

  finds that Plaintiff has also failed to establish specific personal

  jurisdiction based on Defendant's pre-agreement acts.

             3. Jurisdiction Based on Performance of Contract

        Next, the Court looks at whether DeVito Verdi's actions as to

  the performance of the contract is a sufficient basis for the

  exercise of specific personal jurisdiction.          New Venture argues

  that the continuing relationship and ongoing obligations created

  by   the   agreement   is   sufficient    to   establish    jurisdiction.
  Specifically, Plaintiff points out that Defendant was to obtain

  Plaintiff's approval in Virginia before producing or running any

  advertisement, all business travel had to be booked by Plaintiff,

  and all produced advertisements became the property of New Venture.

  Plaintiff's arguments are unavailing because they focus on New

  Venture's own obligations under the contract.        It is true that New

  Venture had to approve the advertisements, book travel, pay DeVito

  Verdi its monthly fee, and accept ownership of work product - all

  from its headquarters in Virginia.       However, that is insufficient
  to establish jurisdiction over DeVito Verdi.               As courts have

  explained "the plaintiff cannot be the only link between the
  defendant and the forum.       Rather, it is the defendant's conduct

  that must form the necessary connection with the forum State that

  is the basis for its jurisdiction over him." Picot v. Weston, 780
  F.3d 1206, 1213 (9th Cir. 2015); Burger King, 471 U.S. at 478 ("If

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  the question is whether an individual's contract with an out-of-

  state party alone can automatically establish sufficient minimum

  contacts in the other party's home forum, we believe the answer

  clearly is that it cannot").        Such an argument would mistakenly

  ''allow[ ] a plaintiff's contacts with the defendant and forum to

  drive the jurisdictional analysis."             Walden v. Fiore, 571 U.S.

  277, 289 (2014).      Therefore, the fact that a contract envisions

  one party discharging its obligations in the forum state cannot,

  standing alone, justify the exercise of jurisdiction over another

  party to the contract.       To hold otherwise would subject a party

  like DeVito Verdi to the whims of its counterparty; for instance,

  if New Venture had performed its obligations from its store in

  Texas or moved its headquarters, DeVito Verdi would suddenly be

  subject to personal jurisdiction in those forums through no action
  of its own.    See, e.g., Danville Plywood Corp. v. Plain and Fancy

  Kitchens,     Inc.,   218   Va.   533,    535    (1977)   (finding   that   a

  Pennsylvania-based buyer was not subject to specific personal
  jurisdiction in Virginia solely because the seller was in Virginia
  and shipped the goods from Virginia).

        Plaintiff next argues that Defendant was required to provide

  Virginia-based New Venture with "on-going strategic guidance and
  council [sic] on media strategy and planning" and it was required
  to conduct "store visits and an audit of all existing in-store

  elements and the current store concept execution." Agreement, ECF

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  No. 1, H SI 1(a), 1(b).        However, if activity in Virginia was not

 contemplated by the contract, it will not satisfy the minimum

  contacts requirement.      Initiatives Inc. v. Korea Trading Corp.,

  991 F. Supp. 476, 479 (E.D. Va. 1997) (''The contract also provides

  no   indication   of   where    those   services   have    been   or   will   be

  performed."); see also Diamond Healthcare of Ohio, 229 F.3d at 452

  (finding   no specific personal jurisdiction              when the contract

  called for performance primarily outside the state even though

  some acts required of the defendant necessitated its contact with

  the forum).

        Here, it is not evident from the contract that the parties

  contemplated activity in Virginia.           DeVito Verdi did not have to

  provide media strategy in Virginia.           The facts before the Court

  suggest that New Venture went to DeVito Verdi's New York office on

  two occasions.    It is also not apparent that the clause regarding

  store visits contemplates activity in Virginia.              In fact, DeVito

  Verdi visited New Venture's store in Philadelphia, not Virginia.

  The review of the in-store elements could also have been done by

  visiting a store outside of Virginia. And again, the facts suggest

  otherwise; DeVito Verdi's work for in-store elements was for New

  Venture's store in Chicago.         Verdi Decl. "31 30.    Finally, not only

  is the Complaint devoid of any allegation that the contract

  contemplated performance in Virginia, it actually suggests the
  parties contemplated work outside of Virginia.             For instance, the

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  Complaint states that New Venture hired DeVito Verdi because of

  ^^its growing national platform." Compl. SI 8.      That is, it appears

  New Venture wanted to focus on growth outside of Virginia.           Even

  the allegations of DeVito Verdi's breach of the contract suggest

  performance outside of Virginia.       See Compl. SI 31(c)        part of

  opening a new store in Chicago, New Venture held a critical meeting

  to discuss the opening and related in-store issues.           Despite the

  importance     of   that    meeting,     the    designated     ^in-store'
  representative at DeVito Verdi was not available to participate.")

  (emphasis added).     This lack of contemplation of performance in
  Virginia distinguishes this case from those cited by Plaintiff.
  For instance, in Waterside Capital Corp., the defendant accounting

  firm had to perform the contract in Virginia by contacting its
  client and the client's former accounting firm in the state.

        Plaintiff also attaches a number of emails sent between the

  parties following the execution of the contract.             As discussed
  supra at 17, communications alone typically are insufficient to
  establish jurisdiction. See also Le Bleu Corp. v. Standard Capital
  Grp., Inc., 11 F. App'x 377 (4th Cir. 2001) (finding lack of
  specific personal jurisdiction over California defendant despite
  the fact that the parties had exchanged some mail and telephone

  calls, that two visits were made to North Carolina by defendant's
  employees, that a payment was mailed from North Carolina, and that
  the contract was signed in North Carolina).

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        Finally, although physical presence in the forum is not a

  requirement for jurisdiction, Burger King, at 476, physical entry

  into the state by the defendant in person or through goods, mail,

  etc. is certainly a relevant contact. See, e.g., Keeton v. Hustler

  Magazine, Inc., 465 U.S. 770, 773-774 (1984); English & Smith v.

  Metzger, 901 F.2d 36, 38-40 (4th Cir. 1990) (attorney in California

  was   subject      to     Virginia's    jurisdiction;    although   he   only

  communicated with his client from California, he had hired local

  co-counsel in Virginia); John G. Kolbe, Inc. v. Chromodern Chair

  Co., 211 Va. 736, 740-41 (1971) (sending an agent to Virginia to

  secure a contract even though the goods were shipped to North

  Carolina     was    a      sufficient    basis   to     establish   personal

  jurisdiction).          Here, Defendant has not engaged in any physical
  contacts with Virginia.          At no point did DeVito Verdi send an

  employee or representative to Virginia, and it does not appear

  that Defendant sent any physical mail or goods following the

  execution of the contract.        Again, the lack of physical contact by

  DeVito Verdi distinguishes the instant action from cases cited by

  Plaintiff.    See African Dev. Co., 963 F. Supp. at 526 (mine dredges

  delivered to Virginia); Joe Rainero Tile, 2018 WL 1474085, at *2
  (contractor hired a subcontractor based in Virginia); Prod. Grp.

  Int'l, 337 F. Supp. 2d at 794 (Defendant employee had traveled to
  Virginia for business); E. Sci. Mktg., Inc. (Minnesota corporation
  sent a representative to Virginia).

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       Because nothing about the performance of the contract on the

  facts and allegations before the Court created a link between

  Defendant and Virginia, it is also an insufficient basis alone for

  personal jurisdiction.

                            4. CTimulative Contacts


        The remaining concern, therefore, is whether viewing all of

  Defendant's contacts cumulatively can be a basis for the exercise

  of specific personal jurisdiction.            In an analogous case, the

  Fourth Circuit found that ''[a]lthough          [Plaintiff] argues that

  [Defendant] reached out to it in Virginia, this assertion, even

  when coupled with the cited [subsequent] communications, is not

  enough to overcome the factors noted above.                On these facts,

  [Defendant's] contact with Virginia was simply too attenuated to

  justify the exercise of personal jurisdiction."                 Consulting
  Engineers Corp., 561 F.3d at 280.            As discussed, in this case.

  Defendant's    contacts    with   Virginia    are   also   limited   to   the

  solicitation of New Venture's business prior to the contract and

  communications with New Venture following the contract.               Thus,

  this is also too attenuated to overcome the factors that indicate

  personal jurisdiction does not exist over this matter — New Venture

  sent the contract to New York for execution, the terms of the

  contract are governed by a foreign state's laws, the lack of

  physical contact in Virginia by Defendant, the terms of the
  contract do not clearly evidence intention of performance in

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  Virginia, and actual performance of the contract outside of

  Virginia.

       For the reasons stated above, the Court finds that Plaintiff

  has failed to demonstrate that Defendant availed itself of the

  privilege of conducting activities in Virginia.

                     B. Cons'bi.'tu'bd.onal Reasonableness

        The parties do not contest the second element of the Fourth

  Circuit's test for specific personal jurisdiction — whether the

  claim arises out of DeVito Verdi's activities in Virginia — but do

  contest the    third   element - constitutional reasonableness of

  asserting jurisdiction. The ^^reasonableness" requirement looks at
  whether the defendant had ''clear notice that it is subject to suit

  [in the forum state], and can act to alleviate the risk of
  burdensome litigation by procuring insurance, passing the expected
  costs on to customers, or, if the risks are too great, severing

  its connection with the State." World-Wide Volkswagen Corp., 444

  U.S. at 297. Courts may consider "(1) the burden on the defendant

  of litigating in the forum; (2) the interest of the forum state in
  adjudicating the dispute; (3) the plaintiff's interest in
  obtaining convenient and effective relief; (4) the shared interest
  of the states in obtaining efficient resolution of disputes; and
  (5) the interests of the states in furthering substantive social
   policies." Consulting Engineers Corp., 561 F.3d at 279.


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       While    it   is   true   that   Defendant   solicited   New    Venture's

  business in Virginia, Defendant would bear at least some burden if

  it were forced to defend the litigation in Virginia.              DeVito Verdi

  is based in New York, and its principals and witnesses would have

  to travel from New York to Virginia.           See, e.g., Wright v. Zacky

  & Sons Poultry, LLC, 105 F. Supp. 3d 531, 541 (M.D.N.C. 2015)

  (finding a burden where defendant and witnesses would have to

  travel interstate).

       Virginia has minimal interest in adjudicating the dispute.

  The parties met in Illinois and reached an oral agreement there;

  Plaintiff sent Defendant a contract from Virginia to New York, and

  the contract was executed in New York.         Although New Venture argues

  that Virginia has an interest in defending the rights of its

  citizen corporations, in this instance, its citizen. New Venture,

  availed itself of the laws of other states.

        It    also   cannot   be   said   that   any   unfairness     results   to

  Plaintiff.     Plaintiff clearly availed itself of foreign states'

  laws.      New Venture is also a sophisticated corporation, and can

  afford to bring a lawsuit in another state.            Further, New Venture

  is not left with little recourse; it has numerous appropriate fora

  in which to bring a suit; and jurisdiction is likely proper in

  Illinois, New York, Pennsylvania, and North Carolina based on the

  parties' dealings.




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       Finally, the Court looks at consistency and public policy

  concerns.      Although unaddressed by the parties, other courts,

  which have looked at the personal jurisdiction question in the

  context of advertising agencies, have found that an advertising

  agency is generally only subject to personal jurisdiction in states

  where they have directed some activity.          Cf. Lions Gate Entm't

  Inc. V. TP Ameritrade Servs. Co., Inc., 170 F. Supp. 3d 1249, 1259

  (C.D. Cal. 2016) (finding that a New York-based advertising agency

  was subject to jurisdiction in California because they knew that

  the copyright holder was in California, had contact with California

  and infringed upon the copyright anyway).        Here, DeVito Verdi did

  not direct any activity in Virginia, such as by placing commercials

  on television or in DeVito Verdi's Virginia stores.           Rather, the

  contract    envisions   Defendant   producing   an   advertisement    once

  approved by Plaintiff; once produced, the advertisement becomes

  the property of Plaintiff who then directs placement of the

  advertisement. Agreement SI 1(a) •       To hold that this is sufficient

  for personal jurisdiction as New Venture suggests would subject

  professional service firms like advertising agencies and law firms

  to suits in a state merely because their clients do business there.

  The Court is not aware of any case that has permitted such an

  expansive view of personal jurisdiction.




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         For the reasons discussed above, the Court finds that it would

  not be constitutionally reasonable to exercise jurisdiction on the

  facts and allegations before it.

                               C. Leave to Amend


         Plaintiff requests that New Venture be granted leave to amend

  if any of the claims are found insufficient.            A court is required

  to "freely give leave [to amend] when justice so requires."               Fed.

  R. Civ. P. 15(a)(2).         "This liberal rule gives effect to the

  federal policy in favor of resolving cases on their merits instead

  of disposing of them on technicalities."            Laber v. Harvey, 438

  F.3d 404, 426 (4th Cir. 2006) (en banc) (citations omitted).

  However, "a district court may deny leave to amend if the amendment

  ^would be prejudicial to the opposing party, there has been bad

  faith on the part of the moving party, or the amendment would have

  been futile.'"    U.S. ex rel. Nathan v. Takeda Pharm. N. Am., Inc.,

  707 F.3d 451, 461 (4th Cir. 2013) (quoting Laber, 438 F.3d at 426);

  see, e.g., Hosch v. United Bank, Inc., No. 4:09-CV-1490-TLW-TER,

  2010    WL   3420977,   at   *6   (D.S.C.   Aug.   3,   2010),   report    and

  recommendation adopted, 2010 WL 3420960 (D.S.C. Aug. 27, 2010)

  (granting a Rule 12(b)(2) motion to dismiss with leave to amend
  against defendants for whom amendment would not be futile).

         In this case. Defendant does not appear to oppose granting

  Plaintiff leave to amend the Complaint, and nothing suggests that

  an amendment would be prejudicial to Defendant, or that Plaintiff

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  has acted   in   bad   faith.     Moreover,   it is    not clear   that   any

  amendment     would     be      futile.       Accordingly,       the   Court

  will grant Plaintiff leave to amend the Complaint to cure its

  defects.


                                  IV. CONCLUSION


        For the reasons stated above. Defendant's Motion to Dismiss

  is GRANTED, ECF No. 10.         The Court PROVIDES Plaintiff with leave

  to amend the Complaint to cure all defects within fifteen (15)

  days after the entry of this Order.

       The Clerk is REQUESTED to send a copy of this Opinion and

  Order to all counsel of record.

       IT IS SO ORDERED.




                                                        /s/
                                                   Mark S. Davis
                                      CHIEF UNITED STATES DISTRICT JUDGE


  Norfolk, Virginia
  March ai , 2019




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